 

 

AO 106 (Rev. 04/10) Application for a Search Warrant

_ UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

a black LG smartphone, model LM-X210MA (bearing serial
no. 802CYLH140888)

_ 18-M-147 (DEJ)

Case N:

 

 

Ne Name Smee” nee” Sn” Se”

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

See Attachment A

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B

The basis for the search under Fed. R. Crim P. 41(c) is:
mel evidence of a crime;
C] contraband, fruits of crime, or other ttems illegally possessed;
L] property designed for use, intended for use, or used in committing a crime;
L] a person to be arrested or a person who is unlawfully restrained.

 

The search is related to violations of: Title 18, United State Code, Section, 922(g), and
Title 21, United States Code, Sections 841(a)(1) and 846

The application is based on these facts: See attached affidavit.

[] Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

EEE

Applicant's signature

Special Agent Richard Connors I, ATF
Printed Name and Title

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. . \
Sworn to before me and signed in my presence:

Date: Aus. CN, WL | NS

ige’s signature

 

 
  

City and State: Milwaukee, Wiscausin,| 00147-DE] Filed o4i@%

 
 

AFFIDAVIT IN SUPPORT OF SEARCH WARRANT
I, Richard Connots, being first duly sworn, hereby depose and state as follows:
AGENT BACKGROUND AND INFORMATION

1. I make this affidavit in support of an application under Rule 41 of the
Federal Rules of Criminal Procedure for a search warrant authorizing the examination
of property — electronic devices— which are currently in law enforcement possession,
and the extraction from that property of electronically stored information described in
Attachment B.

2. I am employed as a Special Agent with the United States Department of
Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives, (“ ATF”) assigned to the
Milwaukee Field Office since October of 2015. I have been employed as a full time law
enforcement officer for approximately two years and six months. I have received
training at the Federal Law Enforcement Training Center in Glynco, GA. I attended the
Criminal Investigator Training Program, as well as ATF’s Special Agent Training
Program. I have received training in the investigation of unlawful possession of firearms,
the unlawful transfer of firearms, and the unlawful dealing in firearms without a dealers’ —
license. Prior to becoming a Special Agent with the ATF, I received two (2) bachelor’s
degrees from Northern Illinois University in the fields of Sociology and International
Relations. I have received a Master’s degree from Northern Illinois University in the field

of American Government.

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3. I have received training in the investigation of firearm and drug trafficking.
Based on my training, experience, and participation in firearm trafficking investigations, I
know and/ ot have observed the following:

a. I have utilized informants to investigate firearm and drug trafficking.
-Through informant interviews and debriefings of individuals involved in
those offenses, I have learned about the manner in which individuals and
organizations distribute these items in Wisconsin and elsewhere;

b. Ihave also relied on informants to obtain firearms (as opposed to licensed gun
dealers) and controlled substances from individuals on the streets, known as
a controlled purchase;

c. I have experience conducting street surveillance of individuals engaged in
firearm and drug trafficking. I have participated in the execution of numerous
search warrants where drugs, firearms, ammunition, and magazines have
been seized;

d. Iam familiar with the language utilized over the telephone to discuss firearm
and drug trafficking, and know that the language is often limited, guarded,
and coded;

e. I know that firearm and drug traffickers often use electronic equipment to
conduct these operations;

f. I know that drug traffickers commonly have in their possession, and at their
residences and other locations where they exercise dominion and control,
firearms, ammunition, and records or receipts pertaining to such;

g. Iknow that firearm and drug traffickers often put their telephones in nominee
names to distance themselves from telephones that are utilized to facilitate
these and related offenses; and

h. Iknow that firearm and drug traffickers often use proceeds to purchase assets
such as vehicles, property, jewelry, and narcotics. I also know that firearm
and drug traffickers often use nominees to purchase and/or title these assets
to avoid scrutiny from law enforcement officials I also know what firearm

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and drug traffickers may keep photographs of these items on electronic
devices.

4, [ have participated in multiple firearm and drug trafficking investigations
_ that involved the seizure of computers, cellular phones, cameras, and other digital
storage devices, and the subsequent analysis of electronic data stored within these
computers, cellular phones, cameras, and other digital storage devices. In many
occasions, this electronic data has provided evidence of the crimes being investigated
and corroborated information already known or suspected by law enforcement.

5. This affidavit is based upon my personal knowledge and upon
information reported to me by other federal and local law enforcement officers during
the course of their official duties, all of whom I believe to be truthful and reliable.

6. Because this affidavit is submitted for the limited purpose of securing a
search warrant, I have not included each and every fact known to me concerning this
investigation. I have set forth only facts that I believe are sufficient to establish probable
cause of violations of Title 18, United State Code, Section, 922(g) (felon in possession of
a firearm and user in possession of a firearm), and Title 21, United States Code, Sections
841(a)(1) (knowingly and intentionally possessing with the intent to deliver a controlled
substance, heroin and cocaine) and 846 (conspiracy to distribute a controlled substance).

I. IDENTIFICATION OF THE DEVICES TO BE EXAMINED
7. Tam submitting this affidavit in support of a search warrant for a Black

Samsung flip style phone, model SM-B311V (bearing serial no. A0000047714309),
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hereinafter referred to as “Device A.” Device A is currently in Milwaukee Police
Department custody under inventory number 18030878, item number 1 and is currently
located at the Milwaukee Police Department’s Property Control Division at 2620 W.
Wisconsin Ave, Milwaukee, WI.

8. Tam also submitting this affidavit in support of a search warrant for a black
LG smartphone, model LM-X210MA (bearing serial no. 802CYLH140888), hereinafter
referred to as “Device B.” Device B is currently in Milwaukee Police Department
custody under inventory number 18030878, item number 2 and is currently located at
the Milwaukee Police Department’s Property Control Division at 2620 W. Wisconsin
Ave, Milwaukee, WI:

9. The applied-for warrant would authorize the forensic examination of
Device A and Device B for the purpose of identifying electronically stored data more
particularly described in Attachment B.

II. PROBABLE CAUSE

10. In Eastern District of Wisconsin federal case 2006-CR-278 numerous
individuals were indicted stemming from an investigation into the 1st-and Keefe Vice
Lords (VL) street gang operating near the area of Ist Street and Keefe Avenue,
Milwaukee, Wisconsin. Numerous subjects provided statements to the government
regarding the activities of the VL prior to 2006. Those statements are from sources of

information 1-8.

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11. In February of 2007, a subject herein referred to as source of information-1
(SOI-1), provided a statement to law enforcement pursuant to a proffer agreement. In
this statement, SOI-1 stated he/she moved to Milwaukee from Chicago. SOI-1 stated
he/she was living in the area of Ist/Keefe. SOI-1 stated in 1991-1992, he/she was getting
cocaine from his/her cousin who stated the cocaine was sourced from Chicago. The SOI-
1 stated eventually he/she and others from the 1st/Keefe area were selling cocaine out
of SOF-1’s mother’s house. The SOL-1 stated once his /her cousin was no longer
supplying him with cocaine, he/she and the others on Keefe began getting their cocaine
directly from another source in Chicago. SOI-1 stated he/she continued to sell cocaine
in the Ist/Keefe area until they went to jail in 1999.

12, SOJ-1 stated he/she returned to selling cocaine in the Milwaukee area after
release from prison. In 2004 SOI-1 stated they went to Chicago with Jonathan MORSE
(b/m, DOB 06/15/1981, aka Lil Jon) on two (2) occasions, to pick up cocaine. SOI-1
stated MORSE was picking up cocaine from MORSE’s cousin, Lamont CLAYBORN
(b/m, DOB 12/18/1966). SOI-1 stated Jonathan MORSE and Preston MORSE (b/m,
DOB 11/23/ 1978, aka P) were splitting the cost for the cocaine. SOI-1 stated they were
purchasing cocaine for approximately $20,000 to $21,000 per kilo. SOI-1 explained the
first time he/she went with Jonathan MORSE to Chicago, they did not see the quantity
of cocaine MORSE purchased. On the second trip to Chicago, SOI-1 stated Jonathan

MORSE bought three (3) kilos of cocaine. SOI-1 further explained Jonathan MORSE put

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the cocaine into a backpack, drove the product back to his house on 33rd and North in
~ Milwaukee, then cooked the cocaine into crack for distribution. SOI-1 also stated during
this time, the VL group would sell cocaine out of The Ret Bar, located at 3400 N. Holton
Street in Milwaukee.

13. SOJ-1 stated around the time they were working with Jonathan MORSE, a
group called Solid Over Concrete (SC) was formed. This group was a subgroup of VL.
This group was led by a subject identified as Gregory MORSE (b/m, DOB 11/18/1978,
aka Greedy). Greedy was supplying cocaine to the SC’s. Once Greedy went to prison,
Preston MORSE and Jonathan MORSE took over leadership of the SC group. This
included being responsible for supplying the cocaine and control of the proceeds
generated from the sale of the cocaine.

14. In March of 2007, a subject herein referred to as source of information-2
(SOI-2) provided a statement to law enforcement pursuant to a proffer agreement. In
this statement, SOI-2 stated they became involved with the VL group at a young age.
SOI-2 stated he/she began to sell cocaine for the group when they were seventeen (17)
~ eighteen (18) years old. SOI-2 stated they purchased cocaine from MORSE, and
described the cocaine MORSE supplied as consistently good quality. SOI-2 further
stated MORSE always had an available supply of cocaine. SOJ-2 further stated he/she

always purchased crack cocaine because he/she did not know how to cook the cocaine.

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15.  SOI-2 stated he/she first met MORSE in the mid to late 90’s, when he/she
bought cocaine from MORSE. SOI-2 stated at that time MORSE stated he had both
‘powder and crack cocaine for sale. SOI-2 stated he/she bought powder weekly, which
MORSE would cook up at his apartment on 13th and Vine. SOJ-2 stated he/she once .
saw approximately one and a half kilos of cocaine, which MORSE had on the counter in
his kitchen. SOJ-2 stated over time he/she was routinely purchasing up to nine (9)
ounces of crack for $6,500.00 from MORSE. SOIJ-2. stated that MORSE owned
approximately three (3) Lexus vehicles during his/her time dealing with him, and
he/she observed at least four (4) handguns in MORSE’s possession. SOI-2 stated he/she
purchased cocaine from MORSE from approximately 2002-2004 until MORSE went to
jail.

16. In April of 2007, a subject herein referred to as a source of information-3
(SOI-3) provided a statement to law enforcement pursuant to a proffer agreement. In
this statement, SOI-3 stated he/she purchased cocaine from Jonathan MORSE two to
three (2-3) times per month in 2003-2004. SOI-3 further stated MORSE would sometimes
front him/her cocaine. SOI-3 also identified Clifton PENN’s (previously identified by
investigators as a b/ m, DOB 05/21/1979) girlfriend, a black female he/ she knew as
“Tessie” (previously identified by investigators as Kontessa M. BLAYLOCK, DOB

01/22/1982), as being involved in the sale of crack cocaine.

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17. In April of 2008, a subject herein referred to as a source of information-4
(SOI-4) provided a mirandized statement to law enforcement during a custodial
interview. SOI-4 stated he/she was involved in selling drugs in 2005-2006. During that
period, SOJ-4 stated he/she cooked up crack cocaine with Clifton PENN on two (2)
occasions at an apartment on Fiebrantz and Green Bay in Milwaukee. SOI-4 stated
PENN would pay for his/her assistance in cooking the drugs. SOJ-4 stated PENN had
a cocaine source in Chicago, but did not know the identity of that person.

18. In April of 2008, a subject herein referred to as a source of information-5
(SOI-5) provided a mirandized statement to law enforcement during a custodial
interview. During the interview, SOI-5 was shown a series of photographs. In response
to a picture of Jonathan MORSE, SOI-5 stated he/ she knew him as “Baby Jon,” and SOI-
5 stated he “sells weight in cocaine.” Your Affiant knows the term sells weight is used
to describe a person who sells a large quantity of cocaine. In response to a picture of
Clifton PENN, SOI-5 stated he/she knew him as “Lil Red,” and SOI-5 stated PENN sells
smaller quantities of cocaine. |

19. In June of 2008, a subject herein referred to as a source of information-6
(SOI-6) provided a statement pursuant to a proffer agreement. In this statement, SOI-6
stated they returned to selling cocaine out of their house, in 2006, because they were
broke. SOI-6 stated they got their cocaine from “Red,” the previously established

nickname for Clifton PENN, who was living near 1st and Nash at the time.

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20. In October 2008, a subject herein referred to as a source of information-7
(SOL-7) provided a statement pursuant to a proffer agreement. In this statement, SOI-7
stated they hung out in the Keefe area from 2001-2006. SOI-7 stated in that time he/she
was selling “15 sacks” or bags containing fifteen (15) rocks of crack cocaine for Preston
MORSE and Jonathan MORSE. SOI-7 further explained individuals by the names of
David THOMAS, Jerry WILLIAMS, and Clifton PENN would sell crack cocaine for
Jonathan MORSE. SOI-7 stated Preston MORSE and Jonathan MORSE would get bricks,
also referred to as kilograms, of cocaine, from a male known as “Lamont,” who was
previously identified by investigators as Lamont CLAYBORN (b/m, DOB 12/18/1966)
in Chicago. Jonathan MORSE would then cook the cocaine into crack. SOI-7 stated
Preston MORSE and Jonathan MORSE told him/her that CLAYBORN was the source of
the drugs.

21. In March of 2016, a subject herein referred to as source of information-8
(SOL8) provided a statement pursuant to a proffer agreement, regarding the illegal drug
activity of the Ist/Keefe VL. SOI-8 identified themselves as a member of VL and stated
they have been affiliated since 1998. SOI-8 stated many VL members were involved in
the distribution of heroin and cocaine. SOI-8 stated “Red” (Clifton PENN) and “Durell,”
who was previously identified by investigators as Durell HORTON (b/m, DOB
04/22/1985) would ride around together every day selling drugs. SOI-3 stated he/she

began riding with HORTON in 2012, and he/she rode with him every day until January

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2013. SOI-8 stated HORTON would carry approximately seven (7) grams of crack
cocaine and five (5) grams of heroin at a time. SOI-8 explained HORTON carried small
quantities of drugs in that manner of packaging in order to avoid being charged with
possession with the intent to distribute, if he were to be arrested.

22,  SOL-8 stated PENN was the main cocaine and heroin distributor for VL.
SOL8 stated PENN obtained his cocaine and heroin from a member of the Eastside
Mafioso or from a subject nicknamed “Cowboy.” SOI-8 stated he/she had no personal
knowledge of PENN traveling to Chicago to obtain drugs. SOI-8 stated PENN would
sell cocaine and heroin from PENN’s girlfriend’s house. SOI-8 identified PENN’s
girlfriend as Kontessa BLAYLOCK (b/f, DOB 01/22/1982).

23.  SOL8 stated “Jon,” the nickname identified by investigators for Jonathan
MORSE, is distributing cocaine and heroin at the same level as PENN. SOI-8 stated
MORSE is typically. at the bar at 5th and Keefe, which was previously identified by
investigators as Fox’s Nite Club (421 W. Keefe Ave.), and SOI-8 stated the bar is where
all the VL. members go throughout the day or night. SOI-8 stated he/ she has observed
MORSE sell as much as fifty (50) grams of heroin on two occasions in 2012.

24. | SOL-8 also stated VL had a house at 2nd and Randolph that was used for
distribution, and the house had a recording studio inside. The address of the residence
was previously identified by investigators as 134 W. Randolph Street, in Milwaukee,

Wisconsin.

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25. In November 2017, a subject herein referred to as source of information-9
(SOI-9), provided a statement to law enforcement regarding the current and ongoing
criminal activity of the Ist and Keefe VL. In this statement, SOI-9 stated they worked
with VL, led by Jonathan MORSE. SOI-9 outlined the organizational structure,
describing smaller cliques within the group. SOI-9 explained he/she was in charge of a
small subgroup of people selling drugs for VL. SOI-9 further explained that “CHEESE,”
later identified as Simone DOWNER (b/m, DOB 12/12/1974) was also in charge of
leading another small group of people in the sale of drugs for VL. SOI-9 explained that
both groups fell under the leadership of “RED,” which is the previously established
nickname for Clifton PENN. SOI-9 explained PENN oversaw every smaller street level
groups that sold for VL.

26.  SOI-9 explained MORSE owned and operated a bar, Fox’s Nite Club
located at 421 W. Keefe, Milwaukee, Wisconsin. SOI-9 stated MORSE used the bar to
launder the organization’s drug proceeds. SOI-9 explained MORSE would take in
money as investments into the business. Additionally, MORSE would pay people from
the neighborhood a cash advance for liquor for the bar, as a means to make the payment
of funds appear legitimate. SOI-9 also stated to officers that that MORSE always has
multiple firearms inside the bar.

27. SOI-9 further explained MORSE controls the money of the organization,

and he has a reputation in the community as someone who could get you set up on your

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feet once released from prison. SOI-9 stated MORSE would front individuals a pistol
and a quantity of drugs to sell, in order to help them get back up and running selling
drugs.

28. SOIJ-9 stated MORSE gets his supply of drugs directly from Chicago,
stating MORSE re-ups his supply once a month. SOI-9 explained MORSE, unidentified
females, and a person known as “MICK” or “MICKEY,” later identified by investigators
as Darwin HORTON (b/m, DOB 07/08/1983), traveled to Chicago to resupply. The trip
usually occurs mid-month. SOIJ-9 explained MORSE typically drove in the rear car,
watching over the product. The middle car carrying the drugs was driven by one of
several unidentified females, and Darwin HORTON drove the lead vehicle. The role of
the lead vehicle was to drive ahead to scout for law enforcement. SOI-9 further
explained once MORSE resupplied, he would “chop the drugs up” in the bar and give
them to RED for distribution. Your Affiant knows through training and experience the
term “chop the drugs up” is often used to describe the process by which pure product is
diluted with filler material to increase the quantity of drugs available for resale to
increase profit.

29.  SOI-9 also identified Durell HORTON as an associate under MORSE. SOI-
9 stated Durell HORTON drives an Infiniti SUV.

30. SOI-9 provided the address of a residence where VL store large quantities

of drugs, the aforementioned residence at 134 W. Randolph Street, Milwaukee, WI. SOI-

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9 explained the residence is used to store firearms (assault rifles and pistols), and “cook
up dope.” Your Affiant knows from training and experience the term “cook up dope”
is a reference to turn powdered cocaine into a solid form commonly known as crack
cocaine. SOIJ-9 further explained PENN, MORSE, and others frequently visit the
residence. SOJ-9 explained only specific people are allowed into the house because
firearms are stored in the residence. Your Affiant knows from training and experience,
that it is common for those engaged in the dealing of drugs to possess firearms for
protection. SOI-9 stated MORSE supplied “pounds” of marijuana, and he stashed drugs
at the house when he did not want to keep it at the bar. SOI-9 also stated PENN would
take possession of the drugs from MORSE and would take them to the house on
Randolph or to his own house for storage. SOI-9 also stated PENN recently started
driving the 2014 WHITE DODGE CHALLENGER, WISCONSIN LICENSE PLATE 652-
ZSZ, VIN 2C3CDY AG5EH122565. It should be noted, a search of the Wisconsin
Department of Motor Vehicles reveals that the 2014 WHITE DODGE CHALLENGER,
WISCONSIN LICENSE PLATE 652-ZSZ, VIN 2C3CDYAG5EH122565 is registered to
Clifton C. PENN at 3833 N. 22nd Street, Milwaukee, Wisconsin.

31. On January 25, 2018, your Affiant and ATF Task Force Officer (TFO)
Anthony Randazzo interviewed an ATF Confidential Informant 22226 (CI), about the
VL group operating near the intersection of N. First Street and W. Keefe Avenue in

Milwaukee, Wisconsin.

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32. The CI stated VL deal marijuana, cocaine, and heroin. CI explained he/she .
knew the main members of VL whom they identified as Jonathan MORSE, Clifton
PENN, and a person known as “Durell,” whom is identified as the aforementioned
Durell HORTON. CI explained HORTON is PENN’s “right hand man” whom he trusts
to assist in the distribution of drugs.

33. CI stated MORSE owns and operates a bar on 5th Street, Milwaukee, which
he/she frequents regularly, identified as Fox’s Nite Club located at 421 W. Keefe Ave.
CI last visited the bar approximately three (3) weeks before this interview. CI explained
MORSE runs the bar, but does not own the building. CI stated there are approximately
six (6) apartments located above the bar, and MORSE has control of at least three of these
apartments. CI explained MORSE has a cousin, Preston MORSE, who lives in Chicago
and stated he is the source of the gang’s drugs. CI stated MORSE has had this source for
years. |

34. Cl further elaborated on PENN’s involvement with the group. Cl stated
PENN oversees the day-to-day activity regarding the group’s drug sales, in order to
preserve the appearance that MORSE is earning money legitimately. CI stated PENN
has told him/her in the past that the group buys heroin by the kilo. CI articulated the
group controls a house near the intersection of Second Street and Randolph Street in
Milwaukee, which VL uses as a “stash house” for their drugs. Investigators have

previously identified the residence located at 134 W. Randolph Street as associated with

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VL drug distribution. CI stated a male he/she knows as “Reggie” oversees the stash
house. CI showed investigators Facebook photographs of the group, and Cl pointed to
a photograph of “Reggie.” Your Affiant recognized “Reggie” as Rodney BUTLER (b/m,
DOB 07/31/1986), who was previously identified by investigators.

35. CI outlined several occasions where they were in the bar following the
group’s trip to Chicago to resupply their drugs. On the first occasion, which took place
in approximately 2016, the CI walked inside the bar and they locked the door behind
them. Once inside the bar, the CI observed the group “break down the dope” and
repackage it for street sale. Cl stated the group was carrying the drugs inside an Adidas
backpack. On the second occasion, which took place approximately July of 2017, CI
walked into the bar and observed drugs in plain sight. CI also observed PENN running
around saying, “hide everything. Someone’s about to get violated.” Your Affiant knows
through training and experience, a “violation” is a formal punishment imposed by the
gang for a transgression or mistake.

36. Cl next described the method in which VL would drive to Chicago to
resupply. CI stated the group routinely drives three (3) vehicles to Chicago. The first
vehicle is a “scout” car, whose job is to drive ahead and look for police. The second
vehicle transports the drugs or money, and CI stated this car is usually driven by a
female. CI stated to investigators MORSE launders the group’s drug proceeds through

the bar, and he/she stated VL have been utilizing this method of using legitimate

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businesses as a means to launder proceeds for several years. CI further explained PENN
once stated VL would like to acquire a car wash to aid in the laundering of their
proceeds.

37. On November 21, 2017, TFO Randazzo checked with the Milwaukee Police
Department's License Investigation Unit for the licensing information associated with
the premises of 421 W. Keefe Avenue, Fox’s Nite Club. It was discovered that Fox’s Nite
Club holds a Class B Tavern License with the City of Milwaukee. The owner and
proprietor is listed as Daria L. MORSE (b/f, DOB 10/02/1961) of 2855 N 33rd St in
Milwaukee. Daria Morse is the mother of Jonathan Morse.

38. ATF TFO Randazzo also conducted a search of the City of Milwaukee
online property records for 421 W. Keefe Avenue, belonging to Fox’s Nite Club.
According to online property records, Victor Benton and Jewel Currie of 5410 N 36th St.
in Milwaukee own the building which is occupied by Fox’s Nite Club.

39. On December 03, 2017, ATF SA Sean Carlson conducted surveillance at 134
W. Randolph Avenue, Milwaukee, Wisconsin. At approximately 13:52 hours, SA

Carlson observed a black male whom he recognized as Rodney BUTLER walk to the
corner of W. Randolph and N. Second Street. A short time later, a white Uhaul branded
truck pulled up and stopped near BUTLER. The driver began to converse with BUTLER
through the driver’s side window. A few minutes later, a white Dodge Challenger with

red racing stripe, recognized to be the vehicle registered to PENN based on the

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distinctiveness of the racing stripe, pulled alongside the Uhaul truck and parked. ATF
SA Sean Carlson next observed the driver of the Uhaul truck, an unidentified black male,
exit the vehicle and walk over to the passenger side door of the white Dodge Challenger.
The unidentified male then opened the passenger door of Challenger and grabbed a
black backpack from inside the vehicle. The unidentified male then walked back across
the street to BUTLER and handed the backpack to him. Finally, the unidentified male
returned to the Uhaul, and drove away southbound. The white Challenger immediately
departed southbound as well.

40. On December 10, 2017, MPD PO Pelczynski conducted surveillance at 134
W. Randolph Avenue, Milwaukee, Wisconsin. At approximately 14:54 hours, MPD PO
Pelczynski observed a 2008 red Lexus GS (WI license plate 374-YFM), pull up next to the
house and park behind a white vehicle that was occupied by two (2) unidentified black
males who exited the target house a few minutes prior. The Lexus GS sat for a few
minutes before both cars drove away from the area. It should be noted, a search of the
Wisconsin Department of Motor Vehicles reveals that the red Lexus GS is registered to
Jonathan T. MORSE at 2855 N. 33rd Street, Milwaukee, Wisconsin.

Al. On December 17, 2017, MPD officers conducted a traffic stop of a black
Infiniti FX35 bearing Wisconsin registration plate 154-ZRG. The officers stopped the
Infiniti at 1321 W. Atkinson Ave, Milwaukee, Wisconsin for an expired vehicle

registration. Durell HORTON was the sole occupant of the Infiniti. During the traffic

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stop, MPD Officer Brandt observed a black zip-lock bag on the front passenger seat in
plain view. Officer Brandt asked HORTON what was inside the bag and HORTON
responded, “weed.”

42. MPD officers searched the Infiniti and the aforementioned zip-lock bag,
which contained a green-plant like substance of suspected marijuana. In addition to the
suspected marijuana, officers recovered from the vehicle a digital scale and two iPhone
cell phones

43. | HORTON was subsequently arrested for the suspected marijuana. During
a search incident to HORTON’s arrest, officers recovered a third iPhone cell phone.

44, Jam aware the suspected marijuana was conveyed to MPD District 5 for
testing. Iam aware the suspected marijuana was tested by MPD Officer Fuerte utilizing
the Narc II number 05 field test kit. The substance tested positive for the presence of
THC and weighed approximately 12.51 grams.

45, For several reasons, case agents believe that SOIs 1-9 and Confidential
Informant 22226 are reliable and credible. Your Affiant believes the information
provided by SOI’s 1-8 in the aforementioned proffers to be credible, because the
statements were provided against their penal interests. Affiant is unaware as to exactly
what consideration the proffered individuals may have received. The information from
SOls 1-8 is further corroborated by the information provided by SOI-9 and CI 22226.

These two sources have provided information that MORSE and PENN are continuing to

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engage in narcotics trafficking in a manner that is nearly identical to what was described
in the statements by SOls 1-8. In addition to describing the activities of MORSE and
PENN, SOJ-9 and CI 22226 identified Durell HORTON as an individual associated with
MORSE and PENN’s narcotics trafficking operation. SOI-9 has provided information to
investigators without the expectation of consideration. Some of the information
provided by SOI-9 would be considered against his penal interests. SOIJ-9 has
convictions for firearm violations, felon in possession of a firearm, armed robbery, and
possession with intent to deliver cocaine. Cl-22226 has provided information to
investigators in the past that has led to the arrest of individual who were wanted for
crimes. CI 22226 has also provided information that has led to the issuance of at least ten
(10) search warrants that led to the recovery of firearms and narcotics. CI 22226 is a paid
informant. CI 29996 has prior convictions for possession of marijuana, recklessly
endangering safety, and armed robbery.

46. On August 16, 2018, Milwaukee Police Department responded to a
shooting which occurred in front of 3341 N. Hubbard Street. Upon arrival on the scene,
officers made contact with SIMONE DOWNER in the rear alley of 3341 N. Hubbard, and
determined DOWNER sustained one (1) gunshot wound to the upper left portion of his
chest. DOWNER was transported to Froedert Hospital, and he was accompanied in the
ambulance by MPD officer Melissa Jacobs. Located on DOWNER’s person was a black

Samsung flip-style phone (model SM-B311V, serial no. A0000047714309) (DEVICE A), a

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black LG smartphone (model LM-X210MA, serial no. 802CYLH14088) (DEVICE B), a
black Digit Z branded digital scale, .78 grams of suspected marijuana, and
approximately $871.00 in US currency. All items were placed into MPD inventory
pursuant to this investigation.

47. MPD Detective Anne Portnoy met DOWNER at the hospital and
questioned him about this incident. DOWNER was considered by MPD to be a victim of
this shooting, and was not in police custody at the time of this interview. DOWNER first
stated to Detective Portnoy that he was walking to a nearby store to buy cigarettes when
he was approached by three (3) Puerto Rican males and one (1) black male. DOWNER
stated one subject approached him with a firearm and he “swatted” it away. Then
another subject shot him in the chest.

48. A little while later, DOWNER again stated to Det. Portnoy that he was
walking to the store to get cigarettes when a white SUV pulled up. Three (3) suspects
got out of the vehicle, and the front passenger approached him holding a firearm.
DOWNER stated he attempted to grab the firearm, and swatted it away, when he was
shot by another subject.

49, Upon further questioning, guided by witness accounts of the event,
DOWNER changed his statement to Det. Portnoy, and said he observed an argument
shortly before the shooting between subjects he identified as “Jerry,” and “Bricks off

Buffum,” and DOWNER broke it wp. DOWNER stated to Det. Portnoy he was walking

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to the store after purchasing some marijuana “around the corner.” DOWNER stated he
was carrying the large quantity of US currency because he was looking to buy a car.

DOWNER further explained he was able to gain control of the firearm during the

encounter, and attempted to shoot back at the suspects after he was shot, but the firearm
failed to fire. DOWNER stated he did not remember where he threw the firearm, but

acknowledged that his DNA would be on the firearm. DOWNER maintained his DNA

would not be present on the ammunition located inside the firearm.

50. Following his treatment and release from the hospital, DOWNER was
taken into MPD custody and transported to their central booking for questioning.

51. On August 16, 2018 at approximately 10:00 pm, during a custodial
interview, DOWNER admitted to MPD Det. Joshua Nemeth that he lied to the initial
detective (Det. Portnoy). DOWNER stated he was afraid he was going to get into trouble
for possession of the firearm. DOWNER identified a subject named Jarrod G. LOGAN
(b/m, DOB 04/ 22/1991) as being on scene just prior to the shooting. DOWNER stated
LOGAN was in an argument with an unknown subject, and he asked DOWNER to
retrieve a firearm. DOWNER told LOGAN he would not, and LOGAN became upset
with him, and left the area. Shortly after this encounter, a white Honda SUV pulled up
and three (3) unknown suspects exited the vehicle. DOWNER stated the first suspect
was armed with a revolver and he was able to take the firearm away from the suspect.

DOWNER stated at this point the second suspect, armed with a black semi-automatic

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handgun, shot him in the chest. DOWNER stated he attempted to return fire, but the
firearm would not work, and he fled to where officers found him. DOWNER explained
he hid the revolver after he fled, so that he could return later and retrieve the firearm.
DOWNER also admitted to Det. Nemeth he possessed the “sack” of marijuana and a
scale. DOWNER stated the scale was to verify the quantity of marijuana he was
purchasing. Finally, DOWNER clarified the US currency in his possession was to be used
to pay his mother’s rent bill. | |

52. Additionally, your affiant is aware that the August 16, 2018 shooting of
DOWNER, has several characteristics indicative of subject being involved in the
purchase or sale of narcotics. Your affiant is aware, through training and experience, that
it is common for those engaged in business of selling drugs to possess firearms for their
protection during the execution of the transaction.. Furthermore, it is common for these
individuals to possess digital scales to weigh the product, and possess large quantities
of US currency on their person. Finally, your affiant is aware that drug transactions,
whether one is buying or selling, are often communicated and facilitated utilizing
cellular phones.

53. Simone Downer is a convicted felon for a 2008 federal violation of
distributing a controlled substance in violation of 21 U.S.C. §§ 841(b)(1)(A) and 846.

54. Your affiant is aware the data contained within cellphones is valuable to

law enforcement even at a later date. Cellphone forensic data can contain messages that

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show a link between individuals which would be beneficial for a.law enforcement
investigation into drug trafficking. Previous contacts for associated members of the Vice
Lords would prove vital for historically linking members of the group together. Your
affiant has received information from confidential sources that DOWNER is still
engaged in drug dealing activity as a 1st and Keefe Vice Lord. Furthermore, DOWNER
appears to have been illegally in possession of a firearm. The data from DOWNER’s
Device A and B could lead law enforcement to develop violations of 18 U.S.C. § 922(¢)
and 21 USC. §§ 841 and 846. Furthermore, the data from DOWNER’s Device A and B
could provide information regarding narcotics and firearm suppliers for the 1st and
Keefe Vice Lords, associates of the VL, and assist in identifying drug house locations.
Ill. TECHNICAL TERMS

55. Based on my training and experience, I use the following technical terms

to convey the following meanings:

a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular
telephone) is a handheld wireless device used for voice and data
communication through radio signals. These telephones send signals
through networks of transmitter/receivers, enabling communication with
other wireless telephones or traditional “land line” telephones. A wireless
telephone usually contains a “call log,” which records the telephone
number, date, and time of calls made to and from the phone. In addition to
enabling voice communications, wireless telephones offer a broad range of
capabilities. These capabilities include: storing names and phone numbers
in electronic “address books;” sending, receiving, and storing text messages
and e-mail; taking, sending, receiving, and storing still photographs and
moving video; storing and playing back audio files; storing dates,

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appointments, and other information on personal calendars; and accessing
and downloading information from the Internet. Wireless telephones may
also include global positioning system (“GPS”) technology for determining
the location of the device.

b. Digital camera: A digital camera is a camera that records pictures as digital
picture files, rather than by using photographic film. Digital cameras use a
variety of fixed and removable storage media to store their recorded
images. Images can usually be retrieved by connecting the camera to a
computer or by connecting the removable storage medium to a separate
reader. Removable storage media include various types of flash memory
cards or miniature hard drives. Most digital cameras also include a screen
for viewing the stored images. This storage media can contain any digital
data, including data unrelated to photographs or videos.

c. Portable media player: A portable media player (or “MP3 Player” or iPod)
is a handheld digital storage device designed primarily to store and play
audio, video, or photographic files. However, a portable media player can
also store other digital data. Some portable media players can use
removable storage media. Removable storage media include various types
of flash memory cards or miniature hard drives. This removable storage
media can also store any digital data. Depending on the model, a portable
media player may have the ability to store very large amounts of electronic
data and may offer additional features such as a calendar, contact list, clock,
or games. .

d. GPS: A GPS navigation device uses the Global Positioning System to
display its current location. It often contains records the locations where it
has been. Some GPS navigation devices can give a user driving or walking
directions to another location. These devices can contain records of the
addresses or locations involved in such navigation. The Global Positioning
System (generally abbreviated “GPS”) consists of 24 NAVSTAR satellites
orbiting the Earth. Each satellite contains an extremely accurate clock. Each
satellite repeatedly transmits by radio a mathematical representation of the
current time, combined with a special sequence of numbers. These signals
are sent by radio, using specifications that are publicly available. A GPS

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56.

antenna on Earth can receive those signals. When a GPS antenna receives
signals from at least four satellites, a computer connected to that antenna
can mathematically calculate the antenna’s latitude, longitude, and
sometimes altitude with a high level of precision.

PDA: A personal digital assistant, or PDA, is a handheld electronic device
used for storing data (such as names, addresses, appointments or notes) and
utilizing computer programs. Some PDAs also function as wireless
communication devices and are used to access the Internet and send and
receive e-mail. PDAs usually include a memory card or other removable
storage media for storing data and a keyboard and/or touch screen for
entering data. Removable storage media include various types of flash
memory cards or miniature hard drives. This removable storage media can
store any digital data. Most PDAs run computer software, giving them
many of the same capabilities as personal computers. For example, PDA
users can work with word-processing documents, spreadsheets, and
presentations. PDAs may also include global positioning system (“GPS”)
technology for determining the location of the device.

Internet: The Internet is a global network of computers and other electronic
devices that communicate with each other. Due to the structure of the
Internet, connections between devices on the Internet often cross state and
international borders, even when the devices communicating with each
other are in the same state.

Based on my training, experience, and research, I know that Devices have

the capabilities that allow them to serve as a wireless telephone, digital camera, portable

media player, GPS navigation device, and PDA and all have the ability to access the

internet. In my training and experience, examining data stored on devices of this type

can uncover, among other things, evidence that reveals or suggests who possessed or

used the devices.

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IV. ELECTRONIC STORAGE AND FORENSIC ANALYSIS

57. Based on my knowledge, training, and experience, I know that electronic
devices can store information for long periods of time. Similarly, things that have been
viewed via the Internet are typically stored for some period of time on the devices. This
information can sometimes be recovered with forensics tools.

58. Forensic evidence. As further described in Attachment B, this application
seeks permission to locate not only electronically stored information that might serve as
direct evidence of the crimes described on the warrant, but also forensic evidence that
establishes how the Devices were used, the purpose of their use, who used them, and
when. There is probable cause to believe that this forensic electronic evidence might be
on the Devices because:

a. Data on the storage medium can provide evidence of a file that was once on
the storage medium but has since been deleted or edited, or of a deleted
portion of a file (such as a paragraph that has been deleted from a word
processing file).

b. Forensic evidence on a device can also indicate who has used or controlled
‘the device. This “user attribution” evidence is analogous to the search for
“indicia of occupancy” while executing a search warrant at a residence.

c. A person with appropriate familiarity with how an electronic device works
may, after examining this forensic evidence in its proper context, be able to
draw conclusions about how electronic devices were used, the purpose of
their use, who used them, and when.

d. The process of identifying the exact electronically stored information on a
storage medium that are necessary to draw an accurate conclusion is a
dynamic process. Electronic evidence is not always data that can be merely

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reviewed by a review team and passed along to investigators. Whether
data stored on a computer is evidence may depend on other information
stored on the computer and the application of knowledge about how a
computer behaves. Therefore, contextual information necessary to
understand other evidence also falls within the scope of the warrant.

e. Further, in finding evidence of how a device was used, the purpose of its
use, who used it, and when, sometimes it is necessary to establish that a
particular thing is not present on a storage medium.

59. Nature of examination. Based on the foregoing, and consistent with Rule
41(e)(2)(B), the warrant I am applying for would permit the examination of Device A
and B consistent with the warrant. The examination may require authorities to employ
techniques, including but not limited to computer-assisted scans of the entire medium,
that might expose many parts of the devices to human inspection in order to determine
whether it is evidence described by the warrant.

60. Manner of execution. Because this warrant seeks only permission to
examine devices already in law enforcement’s possession, the execution of this warrant
does not involve the physical intrusion onto a premises. Consequently, I submit there is
reasonable cause for the Court to authorize execution of the warrant at any time in the
day or night.

Vv. CONCLUSION

61. Based on the above information, there is probable cause to believe that

Simone DOWNER violated Title 18, United State Code, Section, 922(¢) (felon in

possession of a firearm and user in possession of a firearm), and Title 21, United States

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Code, Sections 841(a)(1) (knowingly and intentionally possessing with the intent to
deliver a controlled substance, heroin and cocaine) and 846 (conspiracy to distribute a
controlled substance). There is also probable cause to search Device A and Device B,
which is more particularly described in Attachment A, and which is currently located at
the Milwaukee Police Department Property Control Division at 2620 W. Wisconsin Ave,

Milwaukee, WL, for evidence of these crimes, as described in Attachment B.

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ATTACHMENT A
The property to be searched is:

1. One (1) Black Samsung flip style phone, Model SM-B311V, Serial no.
~A0000047714309, currently in Milwaukee Police Department custody under
inventory number 18030878, item number 1 and is currently located at the
Milwaukee Police Department’s Property Control Division at 2620 W.
Wisconsin Ave, Milwaukee, WI. (Device A)

2. One (1) grey LG brand smartphone, Model LM-X210MA, Serial no
802CYLH14088, currently in Milwaukee Police Department custody under
inventory number 18030878, item number 2 and is currently located at the
Milwaukee Police Department’s Property Control Division at 2620 W.

Wisconsin Ave, Milwaukee, WI. (Device B)

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ATTACHMENT B
1. All records on the Devices described in Attachment A that relate to
violations of Title 18, United States Code, Section 922(g) and Title 21, United States Code,
Section 841(a)(1) and 846 including:

a. Electronic drug or money ledgers, drug distribution or customer lists and
related identifying information, drug supplier lists (including names,
addresses, phone numbers, or any other identifying information); firearm
transactions; correspondence, notations, logs, receipts, journals, books,
records, and other documents noting the price, quantity, and/or times
when. controlled substances were obtained, transferred, sold, distributed,
and/or concealed lists of customers and related identifying information;
types, amounts, and prices of drugs trafficked as well as dates, places, and
amounts of specific transactions; types, amounts, and prices of drugs
trafficked as well as dates, places, and amounts of specific transactions;

b. Electronic telephone books, address books, telephone bills, photographs,
letters, cables, telegrams, facsimiles, personal notes, e-mails, documents,
and other items or lists reflecting names, addresses, telephone numbers,
addresses, and any communications regarding illegal activities among and
between members and associates involved in drug trafficking activities;

c. Records, items and documents stored on the Devices reflecting travel for
the purpose of participating in drug or firearm trafficking activities, such as
passports, airline tickets, bus tickets, vehicle rental receipts, credit card
receipts, taxi cab receipts, hotel and restaurant receipts, canceled checks,
maps, and records of long distance calls reflecting travel from August 2012
to the present;

d. Bank account records, loan documents, wire transfer records, money order
receipts, postal express mail envelopes, UPS, FedEx, and other mail service
receipts and records, bank statements, checks, credit card records, safe
deposit box records, records and receipts and rental agreements for storage
facilities, financial records and notes showing payment, receipt,

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2.

concealment, transfer, or movement of money generated from the sale of
controlled substances, or financial transactions related to the trafficking of
controlled substances.

Photographs, videotapes or other depictions of assets, co-conspirators,
controlled substances, firearms, or other activities related to drug
trafficking or money laundering.

Records of Internet Protocol addresses used; records of Internet activity,
including firewall logs, caches, browser history and cookies, "bookmarked"
or "favorite" web pages, search terms that the user entered into any Internet
search engine, and records of user typed web addresses.

Evidence of user attribution showing who used or owned the Devices at the

time the things described in this warrant were created, edited, or deleted, such as logs,

phonebooks, saved usernames and passwords, documents, and browsing history.

3.

As used above, the terms “records” and “information” include all of the

foregoing items of evidence in whatever form and by whatever means they may have

been created or stored, including any form of computer or electronic storage (such as

flash memory or other media that can store data) and any photographic form.

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